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                                      EXHIBIT A
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                                         Organizational Chart




BENJAMIN RINGEL
  CHILDREN’S                                BENJAMIN RINGEL                        CHANA RINGEL
     TRUST


                                                                                                100% Member

    80% Member     BR LAKEWOOD                 20% Member                          CR LAKEWOOD
                        LLC                                                             LLC
                            (DE)                                                             (DE)




                            50% Member         BCR LAKEWOOD                 50% Member
                                                HOLDINGS LLC
                                                      (DE)


                                                        100% Member


                                               BCR PINEWOOD
                                                REALTY LLC
                                                      (DE)
